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 8                            UNITED STATES DISTRICT COURT
 9                         SOUTHERN DISTRICT OF CALIFORNIA
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11   United States of America,                      Case No.: 20-cr-01689-DMS
12                                     Plaintiff,
                                                    ORDER
13   V.

14   Alan Robles Covarrubias,
15                                   Defendant.
16
17          The Court orders the United States to comply with the continuing duty to disclose
18   material evidence which is favorable to the defendant as required by Brady v. Maryland,
19   373 U.S. 83 (1963), and its progeny. Upon finding that the government has failed to
20   comply with this order, the Court may, as appropriate, order the production of such
21   information, grant a continuance, impose evidentiary sanctions, or, in extreme cases,
22   dismiss charges.
23
24   Dated: 11/05/2020
25                                              ~~)
                                                HON.RUTIIBERMDEZM0NTENEGRO
26                                              UNITED STATES MAGISTRATE JUDGE
27
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                                                                                    «Case No »
